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 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
     Sacramento, California 95814-2282
 3   916-447-1193
 4   Attorney for Defendant
     BISMARK MARTIN OCAMPO
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                               IN THE UNITED STATES DISTRICT COURT
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                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA, )                   No. CR-S-07-248 WBS
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13                                 )               DEFENDANT’S APPLICATION AND
                       Plaintiff,  )               ORDER TO SEAL DEFENDANTS’
14                                 )               EXHIBIT IN SUPPORT OF COUNSEL’S
           v.                      )               MOTION TO BE RELIEVED AS
15                                 )               ATTORNEY OF RECORD
     BISMARK MARTIN OCAMPO, )
16                                 )              Hearing:
                       Defendant,  )              Date: August 2, 2010
17                                 )              Time: 8:30 AM
     ______________________________)              Hon. William B. Shubb
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19          DWIGHT M. SAMUEL, attorney of record for BISMARCK MARTIN OCAMPO,
20   defendant herein, hereby applies for an order to seal DWIGHT M. SAMUEL’s Exhibits A and B
21   in support of his motion to be relieved as attorney of record. This application is made because
22   the exhibit sought to be sealed contains confidential and identifying information and would be in
23   violation of the attorney’s obligation of confidentiality. A hard copy of the defendant’s exhibit
24   will be provided to government counsel.
25   Respectfully submitted,
26   Dated: July 23, 2010
27                                                        /s/ Dwight M. Samuel
                                                          DWIGHT M. SAMUEL
28                                                        Attorney for Defendant, Bismark Ocampo
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 1                                                ORDER
 2          For the reasons stated in the application set forth above, the Court hereby orders
 3   defendant’s Exhibits A and B in support of their motion to be relieved as attorney of record is
 4   hereby ordered sealed until further order of the Court.
 5          Date:    August 3, 2010
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